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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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IN RE: NINE WEST LBO SECURITIES
LITIGATION
20 MD. 2941 (JSR)
Pertains to All Associated Actions
: ORDER
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JED S. RAKOFF, U.S.D.Jd.
Familiarity with the general background to this case is

here assumed. See generally In re Nine West LBO Sec. Litig., ---

 

F. Supp. 3d ---, 2020 WL 5049621 (S.D.N.Y. Aug. 27, 2020). Now
before the Court are two motions to dismiss plaintiffs’

remaining claims. First, the director defendants! move to dismiss
the Litigation Trustee’s claims for breach of fiduciary duty,
aiding and abetting breach of fiduciary duty, and violations of
15 Pa. Cons. Stat. §§ 1551 and 1553. Dkt. No. 325. Second, the

officer defendants? move to dismiss: (1) the Litigation Trustee’s

 

t The director defendants are Gerald C. Crotty, Robert L.
Mettler, Mary Margaret Hastings Georgiadis, Ann Marie C.
Wilkins, Sidney Kimmel, John D. Demsey, Matthew H. Kamens, James
A. Mitarotonda, Jeffrey D. Nuechterlein, Lowell W. Robinson,
Robert & Susan Mettler Family Trust U/A 3/27/06, Robert L.
Mettler, Susan T. Mettler, Trustees, Telendos, LLC, and The
Sidney Kimmel Revocable Indenture of Trust. This group also
includes Wesley R. Card, who served as both an officer and
director.

2 The officer defendants are Christopher R. Cade, Wesley R.
Card, Ira M. Dansky, Joseph T. Donnalley, Richard L. Dickson,
Cynthia DiPietrantonio, Tami Fersko, John T. McClain, and Aida
Tejero-DeColli.
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claims for breach of fiduciary duty, aiding and abetting breach
of fiduciary duty, and unjust enrichment; and, along with
certain other defendants who joined in this motion,? (2) the
Litigation Trustee’s and the Indenture Trustee’s fraudulent
conveyance claims in connection with the change in control
payments. Dkt. No. 322.

Upon consideration, the motions are granted in part and
denied in part. Specifically, the Court grants the director
defendants’ motion to dismiss the claims arising under 15 Pa.
Cons. Stat. §§ 1551 and 1553; but the Court denies their motion
to dismiss the claims for breach of fiduciary duty and aiding
and abetting breach of fiduciary duty. Next, the Court grants
the officer defendants’ motion to dismiss the claims for breach
of fiduciary duty claims, aiding and abetting breach of
fiduciary duty, and unjust enrichment; but the Court denies
their motion to dismiss the fraudulent conveyance claims, except
as to Donnalley and Tejero-DeColli as to whom the Litigation
Trustee’s -- but not the Indenture Trustee’s -- fraudulent

conveyance claims are dismissed. Finally, the Court grants

 

3 Defendant Janet Carr joined in the officer defendants’
motion to dismiss the fraudulent conveyance claims. Dkt. No.
328. The employee defendants -~ namely, Jeffrey Brisman, Lynne

Bernstock, Scott Bowman, Gregory Clark, John Deem, Beth B.
Dorfsman, Arundhati Kulkarni, Joseph Rosato, Larissa Sygida, and
Norman Veit -- joined in that motion as well. Dkt. No. 332.

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Carr’s and the employee defendants’ motions to dismiss the
intentional fraudulent conveyance claims; but the Court denies
their motions to dismiss the constructive fraudulent conveyance
claims.‘ A memorandum explaining the reasons for these rulings
will issue in due course.

Lastly, although the Court originally intended to set a
schedule for deposition discovery and summary judgment motion
practice in this Order, see Dkt No. 20 at 3, in light of the
greater knowledge that the parties have of what will be
necessary in that regard, the parties are invited to jointly or
severally submit their own proposal, provided they do so by no

later than Friday, November 6, 2020 at 5:00 p.m.

 

4 In particular, the Court dismisses the following claims. In
the amended complaint in 20-cv-4262, Dkt. No. 110, Counts I and
II are dismissed as against McClain and Fersko, Counts III and
IV are dismissed, and Count VII is dismissed with respect to the
intentional fraudulent conveyance claims as against Brisman and
Kulkrani. In the amended complaint in 20-cv-4265, Dkt. No. 53,
Counts I, II, and III are dismissed. In the amended complaint in
20-cv-4287, Dkt. No. 130, Counts I and II are dismissed as
against Donnalley, Counts III and IV are dismissed, and Count
VII is dismissed (1) with respect to the Litigation Trustee’s
claims as against Donnalley and Tejero-DeColli and (2) with
respect to the intentional fraudulent conveyance claims as
against Clark, Carr, Rosato, Sygida, Bernstock, and Veit. In the
complaint in 20-cv-4292, Dkt. No. 1, Counts III and IV are
dismissed. In the complaint in 20-cv-4346, Dkt. No. 1, Counts
III and IV are dismissed. In the amended complaint in 20-cv-
4433, Dkt. No. 100, Count III is dismissed with respect to the
intentional fraudulent conveyance claims. In the amended
complaint in 20-cv-4436, Dkt. No. 134, Counts I and II are
dismissed as against Dickson and Counts III and IV are
dismissed.
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The Clerk of the Court is directed to close docket entries

 

322, 325, and 328 in 20-md-2941.

SO ORDERED.

 

Dated: New York, NY
November 3, 2020

 

 

 

 

 
